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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED               )
STATES VIRGIN ISLANDS                  )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )             Case Number: 1:22-cv-10904-JSR
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Defendant/Third-Party Plaintiff. )
____________________________________)
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Third-Party Plaintiff,           )
                                       )
      v.                               )
                                       )
JAMES EDWARD STALEY                    )
                                       )
      Third-Party Defendant.           )
____________________________________)

             GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS’
                 MOTION FOR PARTIAL SUMMARY JUDGMENT

        For the reasons set forth in the accompanying memorandum of law and supporting

documents, which are incorporated as if fully set forth herein, the Government of the United States

Virgin Islands (“Government”) moves for Partial Summary Judgment. The Government is entitled

to judgment as a matter of law for JPMorgan’s participation in Epstein’s sex-trafficking venture

and obstruction of enforcement of the law in violation of the Trafficking Victims Protection Act

(“TVPA”), 18 U.S.C. §§ 1591(a)(2) and (d). The Government is also entitled to judgment as a

matter of law in regard to JPMorgan’s equitable and fault-shifting affirmative defenses (Defenses

5-8).
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       Accordingly, the Government requests entry of judgment in its favor on Counts I and V of

its Second Amended Complaint and requests declaratory relief, injunctive relief, and civil penalties

as set forth herein. The Government defers its request for disgorgement, compensatory and

punitive damages, and other appropriate relief for JPMorgan’s TVPA violations until trial. The

Government also requests entry of judgment as to JPMorgan’s affirmative defenses 5-8.

Dated: July 24, 2023                          ARIEL SMITH, ESQ.
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